          CASE
           Case0:16-cr-00334-JNE-KMM
                2:22-cr-50141-DWL Document
                                     Doc. 237
                                           1 Filed
                                              Filed06/16/22
                                                    07/15/22 Page
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Prob 22 (Rev. 03/97)
                                                             DOCKET NO. (Transferring Court)


                                                             0864 0:16CR00334-002(JNE)
  TRANSFER OF JURISDICTION
                                                             DOCKET NO. (Receiving Court)


                                                               CR-22-50141-PHX-DWL
NAME AND LOCATION OF                        DISTRICT          DIVISION
                                            MINNESOTA         St. Paul, Minnesota

                                            NAME OF SENTENCING JUDGE
John L. Steele
                                            Honorable Joan N. Ericksen
                                            DATES OF          FROM                    TO
                                            SUPERVISED        1/18/2022               1/17/2024
                                            RELEASE
OFFENSE

Conspiracy to Commit Mail Fraud and Wire Fraud and Conspiracy to Commit Money
Laundering
PART 1 – ORDER TRANSFERRING JURISDICTION
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MINNESOTA
  IT IS HEREBY ORDERED pursuant to 18 U.S.C. § 3605 the jurisdiction of the defendant
named above be transferred with the records of this Court to the United States District Court for
the District Of Arizona upon that Court’s order of acceptance of jurisdiction. This Court hereby
expressly consents that the period of supervision may be changed by the District Court to which
this transfer is made without further inquiry of this Court.



June 14, 2022                                   s/ Joan N. Ericksen
Date                                           Joan N. Ericksen, United States District Judge
PART 2 – ORDER ACCEPTING JURISDICTION
UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ARIZONA
  IT IS HEREBY ORDERED that jurisdiction of the above defendant be accepted and assumed
by this Court from and after the entry of this order.


June 15, 2022
Effective Date                                                          United States District Judge
